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                       UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF INDIANA
                            EVANSVILLE DIVISION



HEATHER D. HERRON,                          )
(Social Security No. XXX-XX-9174),          )
                                            )
                         Plaintiff,         )
                                            )
            v.                              )     3:09-cv-2-WGH-RLY
                                            )
MICHAEL J. ASTRUE, COMMISSIONER             )
OF SOCIAL SECURITY,                         )
                                            )
                         Defendant.         )



                  MEMORANDUM DECISION AND ORDER

      This matter is before the Honorable William G. Hussmann, Jr., United

States Magistrate Judge, upon the Consents filed by the parties (Docket Nos. 11,

13) and an Order of Reference entered by District Judge Richard L. Young on

April 22, 2009 (Docket No. 17). On October 26, 2009, the Magistrate Judge

heard oral arguments, at which Plaintiff was represented by counsel, Mike

Woods and John Worman, in person, and Defendant was represented by

counsel, Henry Kramzyk, by telephone.


                            I. Statement of the Case

       Plaintiff, Heather D. Herron, seeks judicial review of the final decision of

the agency, which found her not disabled and, therefore, not entitled to

Supplemental Security Income (“SSI”) benefits under the Social Security Act
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(“the Act”). 42 U.S.C. § 1381(a); 20 C.F.R. § 404.1520(f). The court has

jurisdiction over this action pursuant to 42 U.S.C. § 405(g).

       Plaintiff applied for SSI on May 3, 2005, alleging disability since December

10, 2002.1 (R. 66-68). The agency denied Plaintiff’s application both

initially and on reconsideration. (R. 46-48, 50-53). Plaintiff appeared and

testified at a hearing before Administrative Law Judge Augustus C. Martin

(“ALJ”) on July 11, 2008. (R. 733-68). Plaintiff was represented by an attorney;

also testifying was a vocational expert (“VE”). (R. 733). On August 25, 2008, the

ALJ issued his opinion finding that Plaintiff was not disabled because she

retained the residual functional capacity (“RFC”) to perform a significant number

of jobs in the regional economy. (R. 10-19). The Appeals Council then denied

Plaintiff’s request for review, leaving the ALJ’s decision as the final decision of

the Commissioner. (R. 2-4). 20 C.F.R. §§ 404.955(a), 404.981. Plaintiff then

filed a Complaint on January 9, 2009, seeking judicial review of the ALJ’s

decision.


                                II. Vocational Profile

       Plaintiff was 28 years old at the time of the ALJ’s decision and had a

limited education. (R. 18-19). Her past relevant work experience included work




       1
         Plaintiff filed a previous application for SSI on June 25, 2003. (See R. 25).
 After a hearing, ALJ George Mills found that Plaintiff was not disabled in a decision
 dated April 5, 2005. (R. 25-33). The Appeals Counsel affirmed the ALJ’s decision, and
 Plaintiff did not take any further action. (See R. 10). Thus, the principle of res
 judicata applies, and Plaintiff’s period of disability can begin no earlier than April 6,
 2005.

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as a cashier, housekeeper, and companion/sitter, each of which is classified as

unskilled with light/medium exertional demands. (R. 18).


                             III. Standard of Review

      An ALJ’s findings are conclusive if they are supported by substantial

evidence. 42 U.S.C. § 405(g). Substantial evidence is defined as “such relevant

evidence as a reasonable mind might accept as adequate to support a

conclusion.” Richardson v. Perales, 402 U.S. 389, 401 (1971); see also Perkins v.

Chater, 107 F.3d 1290, 1296 (7th Cir. 1997). This standard of review recognizes

that it is the Commissioner’s duty to weigh the evidence, resolve material

conflicts, make independent findings of fact, and decide questions of credibility.

Richardson, 402 U.S. at 399-400. Accordingly, this court may not re-evaluate

the facts, weigh the evidence anew, or substitute its judgment for that of the

Commissioner. See Butera v. Apfel, 173 F.3d 1049, 1055 (7th Cir. 1999). Thus,

even if reasonable minds could disagree about whether or not an individual was

“disabled,” the court must still affirm the ALJ’s decision denying benefits.

Schmidt v. Apfel, 201 F.3d 970, 972 (7th Cir. 2000).


                           IV. Standard for Disability

      In order to qualify for disability benefits under the Act, Plaintiff must

establish that he suffers from a “disability” as defined by the Act. “Disability” is

defined as the “inability to engage in any substantial gainful activity by reason of

a medically determinable physical or mental impairment which can be expected



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 to result in death or which has lasted or can be expected to last for a

continuous period of not less than twelve months.” 42 U.S.C. § 423(d)(1)(A). The

Social Security regulations set out a sequential five-step test the ALJ is to

perform in order to determine whether a claimant is disabled. See 20 C.F.R. §

404.1520. The ALJ must consider whether the claimant: (1) is presently

employed; (2) has a severe impairment or combination of impairments; (3) has

an impairment that meets or equals an impairment listed in the regulations as

being so severe as to preclude substantial gainful activity; (4) is unable to

perform his past relevant

work; and (5) is unable to perform any other work existing in significant

numbers in the national economy. Id. The burden of proof is on Plaintiff during

steps one through four, and only after Plaintiff has reached step five does the

burden shift to the Commissioner. Clifford v. Apfel, 227 F.3d 863, 868 (7th Cir.

2000).


                              V. The ALJ’s Decision

      The ALJ concluded that Plaintiff had not engaged in substantial gainful

activity since the application date. (R. 12). The ALJ found that, in accordance

with 20 C.F.R. § 404.1520, Plaintiff had five impairments that are classified as

severe: fibromyalgia, degenerative disc disease, borderline intellectual

functioning, depression, and post-traumatic stress disorder. (R. 12). The ALJ

concluded that these impairments did not meet or substantially equal any of the

impairments in 20 C.F.R. Part 404, Subpart P, Appendix 1. (R. 13).


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Additionally, the ALJ opined that Plaintiff’s allegations regarding the extent of

her limitations were not fully credible. (R. 15). Consequently, the ALJ

concluded that Plaintiff retained the RFC for a limited range of sedentary work

that included: an option to sit or stand at will for comfort; occasional stooping

and crouching; no concentrated exposure to moving machinery and unprotected

heights; and performance of only simple routine tasks. (R. 14). The ALJ opined

that Plaintiff could not perform her past work. (R. 18). However, the ALJ opined

that Plaintiff retained the RFC for a significant number of jobs in the regional

economy. (R. 18). The ALJ concluded by finding that Plaintiff was not under a

disability. (R. 19).


                                     VI. Issues

      Plaintiff has raised four issues. The issues are as follows:

      1. Whether there is substantial evidence that there are a significant

number of jobs in the regional economy that Plaintiff can perform.

      2. Whether the ALJ improperly failed to give controlling weight to the

opinions of Plaintiff’s treating physicians.

      3. Whether the ALJ’s credibility determination is patently wrong.

      4. Whether the ALJ failed to consider the cumulative effects of Plaintiff’s

medications.




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Issue 1:    Whether there is substantial evidence that there are a
            significant number of jobs in the regional economy that Plaintiff
            can perform.

      Plaintiff argues that the Social Security Administration has the burden at

step five of the five-step sequential evaluation process to demonstrate that there

are a substantial number of jobs in the regional economy that Plaintiff can

perform. As discussed above, once the Plaintiff has carried her burden of

demonstrating that she cannot perform any of her past work, the burden then

shifts to the Social Security Administration to demonstrate that Plaintiff is able

to perform other work existing in significant numbers in the national economy.

20 C.F.R. § 404.1520; Clifford v. Apfel, 227 F.3d 863, 868 (7th Cir. 2000). As

the Seventh Circuit has explained, “because an ALJ’s findings must be

supported by substantial evidence, an ALJ may depend upon expert testimony

only if the testimony is reliable.” McKinnie v. Barnhart, 368 F.3d 907, 910 (7th

Cir. 2004). Additionally, SSR 00-4p requires the ALJ to inquire about any

possible conflicts between the VE’s testimony and the Dictionary of Occupational

Titles (“DOT”) and to elicit reasonable responses for any discrepancy. If the VE’s

testimony appears to conflict with the DOT, then the ALJ “will obtain a

reasonable explanation for the conflict.” Prochaska v. Barnhart, 454 F.3d 731,

735 (7th Cir. 2006)(quoting SSR 00-4P).

      In this case, based on the testimony of VE Frank Kern, the ALJ

determined that Plaintiff could perform the jobs of sorter (which included 1,600

jobs in the regional economy), hand packager (800 regional jobs), and bench



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assembler (1,600 regional jobs). (R. 19). The ALJ noted that “[p]ursuant to SSR

00-4p, the vocational expert’s testimony is consistent with the information

contained in the Dictionary of Occupational Titles (DOT), except the DOT does

not address the option to sit or stand at will. The vocational expert’s testimony

in that regard is based on his professional experience.” (Id.).

        After Plaintiff filed her brief arguing that the ALJ’s decision was not

supported by substantial evidence, the Commissioner filed its Memorandum in

Support of the Commissioner’s Decision and explained that “[p]ursuant to the

DOT, the hand packager and bench assembler jobs are not performed at the

sedentary exertional level,” essentially conceding that the testimony of the VE

was not consistent with the DOT. (Defendant’s Memorandum in Support of the

Commissioner’s Decision at 17). Despite this admitted elimination of 60 percent

of the jobs that the VE testified Plaintiff could perform, the Commissioner argues

that there is still substantial evidence to support the decision of the ALJ at step

five.

        The Commissioner asks the court to speculate that, when the VE testified

that Plaintiff retained the RFC to perform 1,600 “sorter” jobs, the VE was likely

referring to three subcategories of sorter jobs remaining that do conform to

Plaintiff’s RFC of sedentary work, including 209.687-022 sorter (clerical),




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521.687-086 nut sorter, and 770.687-014 diamond sizer and sorter.2 (Id.) In

the entry scheduling a hearing on this matter, the Magistrate Judge noted that

questions remained regarding whether or not these three subcategories of sorter

jobs actually did meet Plaintiff’s RFC. (Order Setting Oral Argument at 2-3).

Specifically the Magistrate Judge noted:

        As for the three sub-categories of sorter jobs Defendant now asks
        the Court to consider, there are serious concerns about each of
        them. First, the job of diamond sizer and sorter carries a specific
        vocational preparation (“SVP”) level of 4 which requires over three
        months and up to six months of training to learn. However,
        Plaintiff’s RFC is limited to “simple routine tasks” (R. 14), which
        clearly does not include jobs that take three months to learn.
        Second, the job of nut sorter requires exposure to conveyor belts
        which does not conform to Plaintiff’s RFC which includes “no
        exposure to moving machinery.” (R. 14). Third, the Court notes
        that the clerical sorter job involves primarily tasks that today would
        be completed on a computer, and it is possible that the job
        described no longer exists.

(Id.)   At the hearing, the Commissioner essentially conceded that the job of

diamond sizer and sorter did not conform to Plaintiff’s RFC. Also, at the hearing

the Commissioner responded to the Magistrate Judge’s concerns about the nut

sorter job by arguing that the exposure to conveyor belts was not the type of

exposure to moving machinery that the ALJ was referring to in his RFC finding.

        Based on the evidence in the record and the arguments of the parties, as

well as the Commissioner’s concessions regarding the jobs of hand packager,




        2
         The Commissioner appears to have focused on these three subcategories
 because they were the only subcategories of sorter jobs that remotely met Plaintiff’s
 RFC. There were at least 21 other subcategories of sorter jobs that did not meet
 Plaintiff’s RFC for sedentary work.

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bench assembler, and diamond sizer and sorter, the Magistrate Judge concludes

that the decision of the ALJ at step five is not supported by substantial evidence.

There was clearly a conflict in the VE’s testimony and the DOT. The VE testified

that an individual with Plaintiff’s RFC for sedentary work could perform the jobs

of hand packager and bench assembler, but those jobs are not performed at the

sedentary level. Also, of the subcategories of “sorter” that the Magistrate Judge

has been able to find, it appears that 21 of the 24 subcategories also clearly are

not performed at the sedentary level. Furthermore, the Magistrate Judge is

concerned about the remaining three subcategories of sorter jobs that are

performed at the sedentary level and is unwilling to speculate that these were

the types of sorter jobs that the VE was contemplating that Plaintiff could

perform.

      Hence, there appears to have been enough of an “apparent conflict”

between the testimony of the VE and the DOT that the ALJ was obligated to

inquire further into these conflicts. See Overman v. Astrue, 546 F.3d 456, 462-

64 (7th Cir. 2008). The ALJ’s failure to resolve such clearly obvious conflicts

between the VE’s testimony and the DOT requires remand because the ALJ’s

decision is not supported by substantial evidence.

Issue 2:    Whether the ALJ improperly failed to give controlling weight to
            the opinions of Plaintiff’s treating physicians.

      Next, Plaintiff argues that the ALJ failed to give controlling weight to the

opinions of her treating physicians and gave too much weight to nonexamining

state agency physicians. Opinions of a treating physician are generally entitled


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 to controlling weight. Clifford v. Apfel, 227 F.3d 863, 870 (7th Cir. 2000).

 However, an ALJ may reject the opinion of a treating physician if it is based on a

 claimant’s exaggerated subjective allegations, is internally inconsistent, or is

 inconsistent with other medical evidence in the record. Dixon v. Massanari, 270

 F.3d 1171, 1177-78 (7th Cir. 2001). Additionally, 20 C.F.R. § 404.1527 provides

 guidance for how the opinions of treating and nontreating sources are to be

 evaluated and explains as follows:

              (d) How we weigh medical opinions. Regardless of its source,
       we will evaluate every medical opinion we receive. Unless we give a
       treating source’s opinion controlling weight under paragraph (d)(2) of
       this section, we consider all of the following factors in deciding the
       weight we give to any medical opinion.

             (1) Examining relationship. Generally, we give more weight to
       the opinion of a source who has examined you than to the opinion of
       a source who has not examined you.

              (2) Treatment relationship. Generally, we give more weight to
       opinions from your treating sources, since these sources are likely to
       be the medical professionals most able to provide a detailed,
       longitudinal picture of your medical impairment(s) and may bring a
       unique perspective to the medical evidence that cannot be obtained
       from the objective medical findings alone or from reports of
       individual examinations, such as consultative examinations or brief
       hospitalizations. If we find that a treating source’s opinion on the
       issue(s) of the nature and severity of your impairment(s) is well-
       supported by medically acceptable clinical and laboratory diagnostic
       techniques and is not inconsistent with the other substantial
       evidence in your case record, we will give it controlling weight.
       When we do not give the treating source’s opinion controlling weight,
       we apply the factors listed in paragraphs (d)(2)(i) and (d)(2)(ii) of this
       section, as well as the factors in paragraphs (d)(3) through (d)(6) of
       this section in determining the weight to give the opinion. We will
       always give good reasons in our notice of determination or decision
       for the weight we give your treating source’s opinion.




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              (i) Length of the treatment relationship and the frequency of
       examination. Generally, the longer a treating source has treated you
       and the more times you have been seen by a treating source, the
       more weight we will give to the source’s medical opinion. When the
       treating source has seen you a number of times and long enough to
       have obtained a longitudinal picture of your impairment, we will give
       the source’s opinion more weight than we would give it if it were
       from a nontreating source.

              (ii) Nature and extent of the treatment relationship. Generally,
       the more knowledge a treating source has about your impairment(s)
       the more weight we will give to the source’s medical opinion. We will
       look at the treatment the source has provided and at the kinds and
       extent of examinations and testing the source has performed or
       ordered from specialists and independent laboratories. For example,
       if your ophthalmologist notices that you have complained of neck
       pain during your eye examinations, we will consider his or her
       opinion with respect to your neck pain, but we will give it less weight
       than that of another physician who has treated you for the neck
       pain. When the treating source has reasonable knowledge of your
       impairment(s), we will give the source’s opinion more weight than we
       would give it if it were from a nontreating source.

             (3) Supportability. The more a medical source presents
       relevant evidence to support an opinion, particularly medical signs
       and laboratory findings, the more weight we will give that opinion.
       The better an explanation a source provides for an opinion, the more
       weight we will give that opinion. Furthermore, because
       nonexamining sources have no examining or treating relationship
       with you, the weight we will give their opinions will depend on the
       degree to which they provide supporting explanations for their
       opinions. We will evaluate the degree to which these opinions
       consider all of the pertinent evidence in your claim, including
       opinions of treating and other examining sources.

             (4) Consistency. Generally, the more consistent an opinion is
       with the record as a whole, the more weight we will give to that
       opinion.

             (5) Specialization. We generally give more weight to the
       opinion of a specialist about medical issues related to his or her area
       of specialty than to the opinion of a source who is not a specialist.




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             (6) Other factors. When we consider how much weight to give
       to a medical opinion, we will also consider any factors you or others
       bring to our attention, or of which we are aware, which tend to
       support or contradict the opinion. For example, the amount of
       understanding of our disability programs and their evidentiary
       requirements that an acceptable medical source has, regardless of
       the source of that understanding, and the extent to which an
       acceptable medical source is familiar with the other information in
       your case record are relevant factors that we will consider in
       deciding the weight to give to a medical opinion.

                                       *****

              (f) Opinions of nonexamining sources. We consider all evidence
       from nonexamining sources to be opinion evidence. When we
       consider the opinions of nonexamining sources, we apply the rules
       in paragraphs (a) through (e) of this section. In addition, the
       following rules apply to State agency medical and psychological
       consultants, other program physicians and psychologists, and
       medical experts we consult in connection with administrative law
       judge hearings and Appeals Council review:

             (1) In claims adjudicated by the State agency, a State agency
       medical or psychological consultant (or a medical or psychological
       expert (as defined in § 405.5 of this chapter) in claims adjudicated
       under the procedures in part 405 of this chapter) will consider the
       evidence in your case record and make findings of fact about the
       medical issues, including, but not limited to, the existence and
       severity of your impairment(s), the existence and severity of your
       symptoms, whether your impairment(s) meets or equals the
       requirements for any impairment listed in appendix 1 to this
       subpart, and your residual functional capacity. These
       administrative findings of fact are based on the evidence in your
       case record but are not themselves evidence at these steps.

 20 C.F.R. § 404.1527.

       Plaintiff alleges that the ALJ failed to give appropriate weight to treating

 physicians Dr. McFadden and Dr. Lewis. First, as to Dr. McFadden, the ALJ

 stated in his opinion as follows:




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       Additionally, the claimant’s representative interviewed Dr.
       McFadden on July 16, 2008 (Exhibit 1F-614). Dr. McFadden opined
       that his conclusions of the claimant’s limitations, made in 2003 and
       2004, were still accurate, however the undersigned finds that this
       evidence has already been evaluated and weighed in the prior
       decision. Dr. McFadden further opined that the claimant would
       have to lie down for two hours at a time for two or three days per
       week and her pain was severe enough to interfere with her ability to
       concentrate. The undersigned gives little weight to Dr. McFadden’s
       opinion as his treatment notes indicate that the claimant was stable
       and her functional status was excellent in 2008 (Exhibit 1F-511).

 (R. 17).

       The decision does not specifically discuss factors listed in 20 C.F.R. §

 404.1527. Instead, the decision refers to just one visit and does not discuss the

 other numerous office visits that Plaintiff had with Dr. McFadden. It should be

 noted that the one record the ALJ referred to is located at R. 218 and that one

 record also reveals that Plaintiff’s “routine pain medications consist[ed] of

 Methadone 10 mg 4 times a day, Percocet 7.5 mg twice a day, and Lortab 10 mg

 4 times a day for breakthrough pain . . . .” (R. 218). This is a strong regiment of

 oral medications. Despite strong medications, the doctor agreed to reschedule

 Plaintiff for her epidural steroid injections “at her request.” (R. 218). This also

 indicated treatment for significant pain.

       The ALJ also likely misconstrued the use of the physician’s phrase: “her

 functional status is excellent.” The remainder of the sentence states “although

 she has had some increased sedation since we started her on Lyrica a few

 months ago.” (R. 218). It is not clear if Dr. McFadden is referencing her physical

 abilities or her mental limitations as a result of the strong regiment of oral



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 medications that were described in the preceding sentence of the doctor’s record.

 The court concludes that the ALJ did not properly assess the medical records of

 Dr. McFadden.

       As for the opinions of treating family physician Dr. Lewis, the ALJ states:

       The claimant’s representative interviewed Dr. Lewis on July 9, 2008
       (Exhibit 1F-606). Dr. Lewis concurred with Dr. McFadden’s opinion
       of the claimant’s limitations as of September 9, 2003, stating that
       the claimant’s condition had not changed significantly since that
       time. The undersigned gives little weight to Dr. Lewis [sic]
       conclusions as this evidence has already been considered by Judge
       Mills in the his [sic] decision dated April 4, 2005. Dr. Lewis further
       opined that the claimant’s medications would cause a sedative effect
       and combined with her low IQ scores, pain, and depression, the
       claimant would not be able to stay focused on simple repetitive tasks
       for a normal 8-hour workday and she would be absent from work
       more than two days per month. Dr. Lewis also diagnosed the
       claimant with mental retardation, based on her past IQ scores. The
       undersigned gives little weight to Dr. Lewis’ conclusions concerning
       the claimant’s mental functioning as it is based primarily on the
       doctors’ [sic] interpretation of the claimant’s IQ scores and the
       doctor is not a psychiatrist, nor has he administered a mental status
       examination. Furthermore, his opinion is not consistent with the
       findings and opinions of examining psychological experts in the
       record.

 (R. 17).

      Again, the ALJ does not make specific reference in his opinion to the

factors found at 20 C.F.R. § 404.1527. In this case, Dr. Lewis’ interview of July

9, 2008 (R. 122) does spend some time discussing Plaintiff’s intellectual status.

The ALJ here adequately discusses why the fact that Dr. Lewis is not a

psychiatrist and does not administer examinations caused the ALJ to doubt Dr.




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 Lewis’ conclusions. As to Dr. Lewis, the court concludes that the ALJ did not err

 in giving his opinion less weight than other doctors.

 Issue 3:     Whether the ALJ’s credibility determination is patently wrong.

       Plaintiff also argues that the ALJ conducted a flawed analysis of her

 credibility. An ALJ’s credibility determination will not be overturned unless it is

 “patently wrong.” Powers v. Apfel, 207 F.3d 431, 435 (7th Cir. 2000). However,

 here the ALJ’s “credibility” decision is not only an analysis of Plaintiff’s credibility,

 but also an evaluation of Plaintiff’s complaints of pain. Therefore, the ALJ must

 consider SSR 96-7p, the regulation promulgated by the Commissioner to assess

 and report credibility issues, as well as 20 C.F.R. § 404.1529(c)(3).

       SSR 96-7p states that there is a two-step process that the ALJ engages in

 when determining an individual’s credibility:

       First, the adjudicator must consider whether there is an underlying
       medically determinable physical or mental impairment(s)--i.e., an
       impairment(s) that can be shown by medically acceptable clinical and
       laboratory diagnostic techniques--that could reasonably be expected
       to produce the individual’s pain or other symptoms. The finding that
       an individual’s impairment(s) could reasonably be expected to
       produce the individual’s pain or other symptoms does not involve a
       determination as to the intensity, persistence, or functionally limiting
       effects of the individual’s symptoms. If there is no medically
       determinable physical or mental impairment(s), or if there is a
       medically determinable physical or mental impairment(s) but the
       impairment(s) could not reasonably be expected to produce the
       individual’s pain or other symptoms, the symptoms cannot be found
       to affect the individual’s ability to do basic work activities.

       Second, once an underlying physical or mental impairment(s) that
       could reasonably be expected to produce the individual’s pain or
       other symptoms has been shown, the adjudicator must evaluate the
       intensity, persistence, and limiting effects of the individual’s
       symptoms to determine the extent to which the symptoms limit the


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       individual’s ability to do basic work activities. For this purpose,
       whenever the individual’s statements about the intensity,
       persistence, or functionally limiting effects of pain or other symptoms
       are not substantiated by objective medical evidence, the adjudicator
       must make a finding on the credibility of the individual’s statements
       based on a consideration of the entire case record. This includes the
       medical signs and laboratory findings, the individual’s own statements
       about the symptoms, any statements and other information provided by
       treating or examining physicians or psychologists and other persons
       about the symptoms and how they affect the individual, and any other
       relevant evidence in the case record. This requirement for a finding on
       the credibility of the individual’s statements about symptoms and
       their effects is reflected in 20 CFR 404.1529(c)(4) and 416.929(c)(4).
       These provisions of the regulations provide that an individual’s
       symptoms, including pain, will be determined to diminish the
       individual’s capacity for basic work activities to the extent that the
       individual’s alleged functional limitations and restrictions due to
       symptoms can reasonably be accepted as consistent with the
       objective medical evidence and other evidence in the case record.

 SSR 96-7p (emphasis added). SSR 96-7p further provides that the ALJ’s decision

 regarding the claimant’s credibility “must contain specific reasons for the finding

 on credibility, supported by the evidence in the case record, and must be

 sufficiently specific to make clear to the individual and to any subsequent

 reviewers the weight the adjudicator gave to the individual’s statements and the

 reasons for that weight.” Id.

       Moreover, 20 C.F.R. § 404.1529(c)(3) states that when a claimant’s

 subjective individual symptoms, such as pain, are considered, several factors are

 relevant including: (1) the individual’s daily activities; (2) the location, duration,

 frequency, and intensity of the individual’s pain or other symptoms; (3) factors

 that precipitate and aggravate the symptoms; (4) the type, dosage, effectiveness,

 and side effects of any medication the individual takes or has taken to alleviate



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 pain or other symptoms; (5) treatment, other than medication, the individual

 receives or has received for relief of pain or other symptoms; (6) any measures

 other than treatment the individual uses or has used to relieve pain or other

 symptoms; and (7) any other factors concerning the individual’s functional

 limitations and restrictions due to pain or other symptoms. 20 C.F.R. §

 404.1529(c)(3)(i)-(vii).

       In this case, the ALJ recited to the appropriate standards (R. 14) and

 examined Plaintiff’s credibility during a lengthy discussion (R. 15-18). The ALJ

 relied on evidence from Dr. Lewis to determine that Plaintiff’s activities of daily

 living were inconsistent with her complaints of debilitating symptoms. (R. 15).

 The ALJ reasonably credited Dr. Gable’s records which showed that Plaintiff

 “dropped out of treatment,” and that Dr. Gable determined that Plaintiff was

 “malingering.” (R. 17, 142). The ALJ also reasonably considered records from Dr.

 Lewis which state that Plaintiff “was not really hurting anywhere, but she was

 angry all of the time and crying.” (R. 16, 173). This was a reasonable credibility

 determination conducted by the ALJ, and the Magistrate Judge cannot say that it

 was “patently wrong.” Therefore, the credibility determination will not be

 disturbed.

 Issue 4:     Whether the ALJ failed to consider the cumulative effects of
              Plaintiff’s medications.

       Plaintiff also argues that the ALJ failed to consider the cumulative effects of

 Plaintiff’s medications in his RFC finding. Because the Magistrate Judge has

 previously determined that remand is required for further evaluation of Plaintiff’s


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 treating physician’s opinions, a detailed analysis of this issue is not necessary at

 this time. The ALJ’s decision did recite to the correct standard for the evaluation

 of pain. (R. 14). He did also discuss the fact that Plaintiff was taking strong

 narcotic medications (R. 16), and otherwise discussed her use of medications.

 On remand, a more explicit discussion of the effects of the medications would be

 helpful, but there is no explicit error requiring remand within the ALJ’s opinion

 addressing Plaintiff’s RFC and credibility.


                                  VII. Conclusion

       While much of the ALJ’s decision is proper, the court cannot trace the path

 of the ALJ’s reasoning as to whether there are jobs available in the regional

 economy which Plaintiff is able to perform. Additionally, the ALJ failed to

 properly discuss all of the records of Dr. McFadden and establish why the

 treating physician’s opinions should not be given controlling weight. The decision

 of the Commissioner is, therefore, REMANDED for these purposes.

       SO ORDERED the 8th day of January, 2010.


                                                    __________________________
                                                     William G. Hussmann, Jr.
                                                     United States Magistrate Judge
                                                     Southern District of Indiana


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